Case 2:10-cr-20705-RHC-MKM ECF No. 320, PageID.1988 Filed 11/18/11 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                     Case No. 10-20705-8

 ASHAK ASHAQ,

               Defendant.
                                              /

                    ORDER REMANDING DEFENDANT TO CUSTODY

        The Government filed its motion to detain Defendant on November 15, 2011, and

 the court conducted a hearing.

        Defendant faces literally decades of imprisonment upon conviction, including

 several mandatory minima of ten and twenty years that are also mandatorily

 consecutive to each other. The Government characterizes the potential sentence(s) as

 a virtual life sentence in view of Defendant’s age. In addition, the crimes alleged,

 involving the use of fire in the destruction of residential and other structures, are crimes

 of great violence and substantial harm to the community.

        The court held a hearing to determine whether any condition or combination of

 conditions set forth in the Bail Reform Act would reasonably assure Defendant’s

 appearance as required, and the safety of any other person and the community.

        The court considered, in determining whether there are conditions of release that

 will reasonably assure the appearance of Defendant and the safety of the community:

 the nature and circumstances of the offense charged, which includes serious crimes of

 violence the impact of which, in addition to Defendant’s other alleged behavior, resulted
Case 2:10-cr-20705-RHC-MKM ECF No. 320, PageID.1989 Filed 11/18/11 Page 2 of 3




 in millions of dollars of loss; the weight of the evidence against Defendant, which

 appears substantial; the history and characteristics of Defendant, which include limited

 family, financial and community ties although Defendant has resided in the community

 for some years, and scant employment history. Defendant has uncertain financial

 resources. The court finds that there exists a risk of danger to the community posed by

 Defendant’s release, given the arson nature of the criminal allegations.

        Defendant’s ability to remain lawfully present in the United States after conviction

 is questionable, and this along with the massive potential penalties gives rise to a

 likelihood of flight, i.e., a great risk of non-appearance. Defendant’s assertions of local

 ties and law abiding character, proffered through counsel, are unavailing. The

 Government’s presentation, to the contrary, persuades the court clearly and

 convincingly that there exist no conditions, or combination of conditions, that would

 adequately assure Defendant’s appearance and the safety of the community if

 Defendant were released.

        IT IS ORDERED that Defendant is REMANDED to the custody of the United

 States Marshal until further order of the court.


                                            s/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE

 Dated: November 18, 2011




                                              2
Case 2:10-cr-20705-RHC-MKM ECF No. 320, PageID.1990 Filed 11/18/11 Page 3 of 3




 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, November 18, 2011, by electronic and/or ordinary mail.


                                                                       s/Lisa Wagner
                                                                      Case Manager and Deputy Clerk
                                                                      (313) 234-5522
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